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 11

 12                                    UNITED STATES DISTRICT COURT
 13                                   CENTRAL DISTRICT OF CALIFORNIA
 14

 15     JOHN DOE, an individual,           )       Case No. SA CV11-00389 AG (MLGx)
                                           )
 16                                        )
                            Plaintiff,             NOTICE OF AUTOMATIC STAY
                                           )       PENDING APPEAL
 17                                        )
               vs.
                                           )       Date: N/A
 18                                        )
        GANGLAND PRODUCTIONS,              )       Time: N/A
 19     INC., an Illinois Corporation; A&E )       Dept.: 10D
        TELEVISION NETWORKS, LLC, a )
 20     Delaware Corporation; and ROES 1- )        Assigned to the Hon. Andrew J. Guilford
        10, inclusive,                     )
 21                                        )       Action Filed: March 11, 2011
                               Defendants. )
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      NOTICE OF AUTOMATIC STAY PENDING APPEAL
      DWT 18056255v1 0052023-000026
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  1           Defendants Gangland Productions, Inc. and A&E Television Networks, LLC
  2   (“Defendants”) hereby give notice that on August 5, 2011, Defendants filed a Notice
  3   of Appeal from the Court’s August 1, 2011 Order denying Defendants’ anti-SLAPP
  4   motion. (Docket No. 46.) The filing of that Notice of Appeal automatically stays all
  5   proceedings in the trial court pending resolution of that appeal. See Batzel v. Smith,
  6   333 F.3d 1018, 1026 (9th Cir. 2003) (anti-SLAPP statute applies in federal court
  7   “[b]ecause California law recognizes the protection of the anti-SLAPP statute as a
  8   substantive immunity from suit”); Varian Medical Systems, Inc. v. Delfino, 35 Cal.
  9   4th 180, 186 (2005) (perfecting of an appeal from denial of anti-SLAPP motion
 10   automatically stays all proceedings in trial court).
 11

 12   DATED: August 18, 2011                    DAVIS WRIGHT TREMAINE LLP
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                                                By:/s/ Rochelle L. Wilcox
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